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UNITED STATES DISTRICT COURT

District of Arizona

In the Matter of the Search of

SUBJECT PARCEL: USPS Retail Ground parcel

bearing USPS tracking number 9534 6265 0696

2245 8593 92, addressed to “Nick Vice, 5542 S SEARCH WARRANT 0
Walker Ave, Oklahoma City, OK 73109” with a Case Number: Je ~ Sass IN
return address of “AriZona Materials LLC, 3636 S

43rd Ave. Phoneix AZ 85009”. It is large brown

cardboard box USPS Retail Ground label

measuring approximately 15” x 12” x 10”;

weighing approximately 17 pounds and 15,2

ounces; postmarked September 2, 2022; and

bearing $26.60 in postage.

TO: ANTOINE MARTEL and any Authorized Officer of the United States

Affidavit having been made before me by Affiant, Antoine Martel, UNITED STATES POSTAL INSPECTOR,
on the premises known as:

SUBJECT PARCEL: : USPS Retail Ground parcel bearing USPS tracking number 9534 6265 0696 2245 8593
92, addressed to “Nick Vice, 5542 S Walker Ave, Oklahoma City, OK 73109” with a return address of
“AriZona Materials LLC, 3636 S 43rd Ave. Phoneix AZ 85009”, It is large brown cardboard box USPS Retail
Ground label measuring approximately 15” x 12” x 10”; weighing approximately 17 pounds and 15.2 ounces;
postmarked September 2, 2022; and bearing $26.60 in postage.

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, IN VIOLATION OF TITLE 21, UNITED
STATES CODE, SECTIONS 841(a)(1), 843(b) and 846, AS EVIDENCE OF SAID VIOLATIONS.

I am satisfied that the Affidavit establishes probable cause to believe that the property so described is now
concealed on the premises above described and establishes grounds for the issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or before Q - 20 *_. al a (Date)
(not to exceed 14 days) the premises named above for the property specified, serving this warrant and making the
search in the daytime (6:00 a.m. to 10:00 p.m.), if the property be found there to seize same, leaving a copy of this
warrant and receipt for the property taken, and to prepare a written inventory of the property seized and promptly
a this warrant to any United States Magistrate Judge, District of Arizona as required by law.

-b -sal @ 3 \ bO Vv. WO ~at Phoenix, Arizona

Date and Time Issued City and State

HONORABLE JOHN Z. BOYLE G-box—
UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer Signature of Judicial Officer

 

 

 

 

 
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AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
22-8286MB 9/6/2022 4:32 pm USPS

 

 

 

Inventory made in the presence of :
Postal Inspectors Tony Martel and Liz Davis

 

Inventory of the property taken and name of any person(s) seized:
LABEL NUMBER GOES HERE: 9534 6265 0696 2245 8593 92

~ brown cardboard box

- clear bubble wrap

- six (6) child size hoodies

- six (6) white padded envelopes containing a white powder laundry detergent

- clear foodsaver bags

- grease covered carbon paper

- aluminum foil

- brown packing tape

- five (5) white carboard boxes containing a white srystalline substance that field tested positive for
methamphetamine with an approximate weight of 4,919.19

- one (1) bundle of a white powder substance that field tested positive for cocaine with an approximate weight of
979.9g

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant

to the designated judge.

Date: 09/06/2022 iy’ Op c

“ Eybcutin€ officer ’s signature

Antoine Martel, Postal Inspector

 

Printed name and title

 

 

 
